                       Case 2:13-cv-00193 Document 775-20 Filed on 11/19/14 in TXSD Page 1 of 2
From                                    Watkins      Paul

To                                      Jarmon       Karol

Sent                                    9202013        110042        AM
Subject                                 FW EIC applicant            verification   phone   numbers




Paul   B Watkins
Dep Asst Director
Driver License Division

Texas Department of Public Safety



paulwatkinsdpstexasgov
5124245413              o
5122844744              c

From Peters Joe
Sent Wednesday                 September      18 2013 557 PM
To Watkins Paul Rodriguez Tony Bell Stephen
Subject FW EIC applicant verification


Not exactly what               we asked         for   but     should be workable                   Any objections


From Hearn Skylor
Sent Wednesday                 September      18 2013 504 PM
To Peters Joe
Subject           RE   EIC applicant       verification



Just in case           we have a worst case            scenario        where   all   25 mobile units are attempting                        to   call   in   at the   same time    I   think

its   best   if   we go with a regional approach                     The CSRs can call the number to the below                                  Comms Center associated
with the     region they are physically               in    with   the moblie        IC   site   and they can use any of the other numbers                                  as a backup

Will that    work         Just give      me a heads          up before you go          live   so   we can let the operators know                            what to expect      Thanks


Region       1    Garland       2148612040
Region       2 Houston           2815171300
Region       3 Weslaco           9569845621
Region       4 El Paso           9158494080
Region       5 Lubbock           8064722794
Region       6 San Antonio          2105312280

                                                                                                       2:13-cv-193
                                                                                                                      exhibitsticker.com




From Peters Joe
                                                                                                       09/02/2014
Sent Wednesday                 September      18 2013 316 PM
To Hearn           Skylor
                                                                                                      DEF1455
Subject           EIC applicant       verification




Skylor


We would like to take you up on your offer to have your folks available for our CSRs to call                                                                           in   from the

mobile EIC             sites   to verify an applicants                 eligibility        ie that they dont have a DL or an ID already We                                               will


have our           CSRs provide name and                      dob to run the query                    Let   me know who                         they should be calling and
a phone number                  for   them to        call     If
                                                                   you have any questions or need                more info                         let      me know

Thanks




                                                                                                                                                                                      TEX0506763
              Case 2:13-cv-00193 Document 775-20 Filed on 11/19/14 in TXSD Page 2 of 2
Joe


Joe Peters
Assistant   Director

Texas Department       of   Public Safety

Driver   License   Division

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                                                                                         TEX0506764
